                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

NATHANIEL HIERS                          §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §
                                         §         No. 4:20-cv-00321-SDJ
The Board of Regents of the University   §
of North Texas System—CHAIR              §
LAURA WRIGHT, et al.                     §
                                         §
       Defendants.                       §



                     DEFENDANTS’ MOTION TO DISMISS


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                                     INTRODUCTION

          This case was started by a six-word joke Plaintiff Nathaniel Hiers

anonymously scribbled on a University of North Texas (“UNT”) faculty lounge

chalkboard.

          Hiers was a non-tenured adjunct professor who taught a few UNT math classes

during the Fall 2019 semester, making $3,600 per class. On November 25, 2019, Hiers

was hanging around UNT’s math department faculty lounge. He saw a stack of fliers

an anonymous person left in the lounge that discussed the potential harmfulness of

microaggressions in the workplace. These fliers apparently annoyed Hiers who, based

on his Complaint, holds some well-developed ideas about why the concept of

microaggressions “actually hurts diversity and tolerance.” 1 Yet he did not express

these substantive ideas on the day in question. Instead, Hiers anonymously scrawled

the following to “jokingly tease[]” whoever left the fliers: 2




1   Complaint (“Compl.”), ¶ 106.
2   Id. at ¶ 125; ECF 1-10.

                                             1
      The following day, Hiers identified himself as the message’s author in response

to a question by Dr. Ralf Schmidt, the Chair of UNT’s Department of Mathematics.

Heirs claims that, due to his comment, UNT decided not to reappoint him to teach

another few math classes for the Spring 2020 semester. Hiers brings nine claims (five

freedom of speech claims, three due process claims, and one breach of contract claim)

against 15 high-ranking UNT and UNT System officials due to his six-word joke.

      Hiers’ First Amendment claims fail. Supreme Court cases like Pickering,

Connick, and Garcetti establish the general standard (the “Pickering test”) that

governs a public employee’s speech in the workplace. Under the Pickering test, speech

is only protected if it is on a matter of “public concern.” Hiers is asking this Court to

be the first in the nation to find that a public employee’s anonymous, uninformative,

and private teasing of another anonymous individual is speech on a matter of public

concern. The weight of authority suggests otherwise. And the unprecedented nature

of Hiers’ request raises obvious qualified immunity issues.

      Hiers’ remaining claims are also meritless. Hiers was an at-will non-tenured

faculty member for UNT who had no protectable interest in continued employment

with the University, which is fatal to his procedural due process claim. Hiers’ as-

applied vagueness claim and his equal protection class-of-one claim are both barred

by Supreme Court precedent. Hiers’ breach of contract claim is barred by sovereign

immunity and is otherwise meritless as he cannot enforce the alleged UNT contract

against Defendants in their individual capacities.




                                           2
      In sum, Hiers’ claims are inadequately pled and barred by sovereign and

qualified immunity. His action should be dismissed in its entirety.

                            STATEMENT OF THE ISSUES

   1. First Amendment (Pickering Applicability): The Supreme Court
      emphasizes that public employers must be given wide latitude to manage their
      offices, largely for federalism and separation of powers reasons. The Pickering
      test reflects the Supreme Court’s balance of public employers’ rights with
      public employees’ right to free speech. Hiers brought five First Amendment
      claims as if they were distinct causes of action warranting separate analyses.
      Are Hiers’ First Amendment claims all subject to the Pickering test?
   2. First Amendment (Public Concern): Under the Pickering test, a public
      employee’s speech is only protected if it was on a matter of public concern,
      which focuses on the content, form and context of the statement. Hiers
      anonymously made a single uninformative joke about another anonymous
      individual’s fliers in a private setting. Was Hiers’ joke constitutionally-
      protected speech on a matter of public concern?
   3. Fourteenth Amendment (Vagueness): Hiers claims that UNT’s Misconduct
      Policy is unconstitutionally vague. But Hiers alleges no facts suggesting that
      he was not renewed due to this policy or that his speech was otherwise chilled
      as a result of this policy. And the policy defines “misconduct” in accordance
      with Supreme Court precedent. Does Hiers have standing to bring this
      vagueness challenge and has he plausibly alleged such a claim?
   4. Fourteenth Amendment (Procedural Due Process): A person must have
      a legitimate entitlement to the benefit in question to sustain a procedural due
      process claim. Hiers was a non-tenured adjunct professor who was only hired
      to teach for the Fall 2019 semester. UNT revoked the offer to have Hiers teach
      for the Spring 2020 semester before he signed it. Can Hiers sustain a
      procedural due process claim under the circumstances?
   5. Fourteenth Amendment (Equal Protection): Hiers asserts an equal
      protection “class-of-one” claim. But Supreme Court precedent holds that the
      class-of-one theory of equal protection has no application in the public
      employment context. Is Hiers’ equal protection claim barred by Supreme Court
      precedent?
   6. Personal Involvement: A defendant’s personal involvement in the alleged
      unconstitutional acts is an essential element of a claim under 42 U.S.C. § 1983.
      Hiers sued 15 high ranking UNT officials. But he alleges no facts suggesting
      that 13 of the 15 Defendants were involved in the incident in question. Has
      Hiers plausibly alleged a § 1983 claim against these 13 Defendants?



                                          3
     7. Breach of Contract: Hiers sued Defendants in their individual capacities on
        a theory that UNT breached a contract to have him teach for the Spring 2020
        semester. But UNT revoked that offer before Hiers signed it. And any contract
        was with UNT and not the Defendants in their individual capacities. Can Hiers
        sustain a breach of contract claim under the circumstances?
     8. Sovereign Immunity: Hiers sued Defendants in their official capacities for
        damages under § 1983. He also brought a claim for breach of contract. But UNT
        has not waived sovereign immunity for such claims and thus neither have its
        officers. Are Hiers’ official-capacity § 1983 claims for damages and is his breach
        of contract claim barred by sovereign immunity?
     9. Qualified Immunity: To overcome qualified immunity, Hiers must show that
        his right to make an anonymous, uninformative, and private joke about
        another anonymous individual’s fliers was clearly established such that every
        reasonable official would have understood this to be constitutionally-protected
        speech. Yet the weight of authority suggests otherwise. And Fifth Circuit
        precedents hold that the results of a Pickering test will rarely be clearly
        established. Can Hiers overcome Defendants’ qualified immunity defense
        under the circumstances?
                                          BACKGROUND

I.      Hiers Anonymously and Privately Teases Another Anonymous
        Person’s Fliers About Microaggressions in the Workplace.

        Hiers obtained his Ph.D. in Mathematics from UNT in May 2019. 3 Around two

months later, Hiers accepted an offer to work for UNT as an adjunct faculty member

and taught four UNT math classes for the Fall 2019 semester, making $3,600 per

class. 4 An adjunct “is a non-tenured faculty member employed for instructional

purposes only and for a fixed term, usually on a semester-by-semester basis.” 5




3 Compl., ¶ 79.
4 Id. at ¶¶ 80–82, 196.
5 Policies of the University of North Texas: 6.002 Academic Appointments and Titles, available at

https://policy.unt.edu/sites/default/files/06.002.AcadAppts.Published5.19.pdf (last visited July 14,
2020). The Academic Titles themselves can be accessed by clicking on the hyperlink labeled “UNT
Academic        Titles”    in     this       document    and      are    publicly     available      at
https://vpaa.unt.edu/sites/default/files/documents/page/2019/academic_titles.pdf (last visited July 14,
2020).

                                                  4
       On November 25, 2019, Hiers went to the math department’s faculty lounge

after teaching his evening class. 6 He saw that an anonymous person had left a stack

of fliers in the lounge that discussed the harmfulness of microaggressions. 7 The fliers

pertained to a National Science Foundation funded program for the University of

New Hampshire. 8 The fliers seek to “improve the climate for UNH faculty” by

teaching them about microaggressions, particularly in the context of university hiring

situations. 9 The fliers define microaggressions as the “everyday verbal, nonverbal,

and environmental slights, snubs, or insults, whether intentional or unintentional,

that communicate hostile, derogatory, or negative messages to target persons based

solely upon their marginalized group membership.” 10

       Hiers “looked at the fliers, disagreed with what was said, and wrote on the

faculty lounge chalkboard, ‘Don’t leave garbage lying around,’ with an arrow pointing

to one of the fliers.” 11 Hiers did not sign his name to this message, nor does he allege

that anyone else was present when he wrote it. 12 Hiers admits he was only “jokingly

teas[ing]” the anonymous “professor who left the fliers.” 13 Hiers claims he had deeper

thoughts about microaggressions besides merely thinking the concept was




6 Compl., ¶ 4, 90–91, 101–03.
7 Id.
8 See ECF 1-9, 1. A clearer copy of the flier’s first two pages is publicly available at the following

website:
https://www.unh.edu/sites/default/files/departments/office_of_the_provost/Academic_Admin/genderm
icroaggressions.pdf (last visited July 17, 2020).
9 Id.
10 Id. (citation omitted).
11 Compl., ¶ 5; ECF 1-10.
12 Compl., ¶¶ 5, 112–14; ECF 1-10.
13 Compl., ¶ 125; see also id. at ¶¶ 5, 112, 158.


                                                  5
“garbage.” 14 But he does not allege that he conveyed his substantive ideas about

microaggressions to anyone at UNT. 15

        The following day, Dr. Schmidt “emailed the entire mathematics department

with a picture of Dr. Hiers’ chalkboard inscription and stated, ‘Would the person who

did this please stop being a coward and see me in the chair’s office immediately.’” 16

Hiers told Dr. Schmidt that he was the message’s author, and the two met later that

day to discuss the matter. 17

        During this meeting, Dr. Schmidt told Hiers that the anonymous remark “was

‘stupid’ and was ‘the nuclear option.’” 18 Hiers claims he was asked to apologize for

this incident and that Dr. Schmidt offered him the option to participate in additional

diversity training. 19 Hiers refused. 20 A few days later, Dr. William Cherry, the

Associate Department Chair of UNT’s Department of Mathematics, emailed Hiers to

let him know that his “employment with us will not continue in the spring term.” 21

        In a follow-up email, Dr. Schmidt explained that this decision was due to Hiers’

“actions in the grad lounge on 11/26, and [his] subsequent response.” 22 Specifically,

Dr. Schmidt was concerned: (1) about Hiers’ general dismissal of microaggression

issues; (2) that the nature and content of Hiers’ chalkboard message could be




14 See id. at ¶¶ 104–12.
15 See id. at ¶¶ 90–184.
16 Id. at ¶ 123.
17 Id. at ¶¶ 126–27.
18 Id. at ¶ 128.
19 Id. at ¶¶ 129–32.
20 See id. at ¶¶ 129–34.
21 Id. at ¶¶ 43, 141; ECF 1-13, 2.
22 ECF 1-13, 1.


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“perceived as threatening” to the faculty member or graduate student who left the

fliers; and (3) about Hiers’ refusal to participate in additional diversity training. 23

II.     There was No Binding Contract to have Hiers Teach During the
        Spring 2020 Semester.

        The following is a timeline of Hiers’ and UNT’s contract discussions, which was

put together using Hiers’ allegations and attached documents.

         • July 18, 2019: UNT sends Hiers a written letter offering him an
           appointment to teach three math classes in the Fall 2019 semester as an
           adjunct faculty member. 24 The offer letter is seven pages long and contains
           terms such as: (1) Hiers’ proposed salary; 25 (2) the specific date his teaching
           duties would start; 26 (3) the policies and procedures governing his
           employment; 27 (4) mandatory orientations and faculty meetings; 28 and (5)
           other payroll-related information, like the pay period, insurance, and
           benefits. 29 The letter states that Hiers’ appointment for the Fall 2019
           semester “does not guarantee an appointment in future semesters.” 30 The
           letter continues: “No previous written or oral commitment will be binding
           on the University except as specified in this letter and attached Adjunct
           Offer Letter Addendum.” 31
         • July 21–29, 2019: On July 21, 2019, Dr. Cherry asks Hiers to teach a fourth
           math class for the Fall semester. 32 Hiers accepts. 33 Dr. Cherry informs
           Hiers that his original offer letter—which had Hiers teaching only three
           classes—would need to be amended to reflect the addition of the fourth
           class. 34 On July 29, 2019, Hiers signs the offer letter. 35




23 Id.
24 ECF 1-5.
25 Id. at 1.
26 Id.
27 Id. at 5.
28 Id.
29 Id. at 6.
30 Id. at 1.
31 Id. at 2.
32 ECF 1-6.
33 Id.
34 Id.
35 ECF 1-5, 3.


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         • November 18, 2019: Dr. Cherry, via email, asks Hiers to teach “Math 2700
           . . . in the spring.” 36 Hiers responds that same day, stating “I’ll happily teach
           linear again.” 37 No other terms were discussed. 38
         • November 26, 2019: Dr. Cherry sends an email to all “Math-Adjuncts”
           asking for “someone” to teach “Math 1780 . . . for the spring.” 39 Hiers
           responds that same day with “I’ll happily teach a third class.” 40 No other
           terms were discussed. 41 Around the same time, UNT’s office manager sends
           an email to “Math-Adjuncts” stating: “Your spring offer letters are ready for
           your signature. Please stop by my office as soon as you can to sign the offer
           letter.” 42
         • December 2, 2019: Hiers went to the “mathematics department office to sign
           the offer letter.” 43 Around the same time, UNT informed Hiers of its
           decision not to reappoint him for the Spring semester, and thus he never
           signed the offer letter for that semester. 44

        Hiers alleges that his November 2019 email exchanges with Dr. Cherry created

a binding contract to have him teach three math courses during the Spring 2020

semester. 45 But these emails contained practically no essential terms and were

markedly different than the offer letter Hiers signed to teach for the Fall 2019

semester. The parties clearly contemplated having Hiers sign a detailed offer letter

to teach for the Spring 2020 semester, but this offer was revoked prior to Hiers

signing it. Indeed, Hiers admits that he went to the mathematics department on

December 2, 2019 “to sign the offer letter,” 46 an action that would be irrelevant if the




36 ECF 1-7.
37 Id.
38 Id.
39 ECF 1-8.
40 Id.
41 Id.
42 ECF 1-11.
43 Compl., ¶ 138.
44 Id. at ¶¶ 138–41.
45 Id. at ¶¶ 43, 84–88, 122.
46 Id. at ¶ 138.


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November 2019 email exchanges created a binding agreement. Hiers did not have a

binding contract to teach during the Spring 2020 Semester.

III.    Overview of the Complaint.

        Hiers’ nine asserted claims break down as follows: five First Amendment

claims (retaliation, content and viewpoint discrimination, compelled speech,

overbreadth, and unconstitutional conditions); three Fourteenth Amendment claims

(due process of law, procedural due process, and equal protection); and one state law

breach of contract claim. 47

        Hiers sued numerous high-ranking UNT System and UNT officers in both

their official and individual capacities, including UNT’s Board of Regents, Chancellor,

President, Provost and Vice President for Academic Affairs, and Dean of the College

of Sciences. 48 Hiers never explains how any of the following Defendants were

personally involved in the incident in question: Laura Wright, Milton Lee, Melisa

Denis, Mary Denny, Daniel Feehan, A.K. Mago, Carlos Munguia, Brint Ryan, John

Scott Jr., Lesa Roe, Neal Smatresk, Jennifer Evans-Cowley, and Su Gao.

                                         LEGAL STANDARD

        A motion to dismiss under FED. R. CIV. P. 12(b)(6) hinges on whether the

plaintiff pled a “plausible” (as opposed to just a “possible”) claim for relief—i.e.

whether the plaintiff pled “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” 49 If “a



47 Id. at ¶¶ 206–83.
48 Id. at ¶¶ 16, 23, 26, 31, 34, 48.
49 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).


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complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

‘stops short of the line between possibility and plausibility of entitlement to relief.’” 50

On such a motion, the court can rely on: (1) the complaint; (2) the complaint’s

attachments; (3) a defendant’s attachments that were referenced in the complaint

and central to the plaintiff’s claim; and (4) matters on which a court may take judicial

notice. 51

        Justiciability issues such as standing and sovereign immunity go to the court’s

jurisdiction over the dispute and thus are subject to a FED. R. CIV. P. 12(b)(1) motion

to dismiss. 52 In addition to relying on the items addressed above, on a Rule 12(b)(1)

motion to dismiss the court can also weigh the evidence and resolve disputed facts to

ensure that it has power over the case. 53

                                             ARGUMENT

I.      Hiers’ First Amendment Claims Should be Dismissed.

        Hiers’ First Amendment claims are all governed by the Pickering test. Under

this test, speech is only constitutionally protected if it was on a matter of public

concern. Hiers’ First Amendment claims all fail because his private, anonymous, and

uninformative joke was not speech on a matter of public concern.




50 Id. (quotations omitted) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)).
51 See, e.g., Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008); Collins v. Morgan
Stanley Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000).
52 See, e.g., Block v. Texas Bd. of Law Examiners, 952 F.3d 613, 616–17 (5th Cir. 2020); Moore v. Bryant,

853 F.3d 245, 248–49 (5th Cir. 2017).
53 Barrera-Montenegro v. U.S. & Drug Enf’t Admin., 74 F.3d 657, 659 (5th Cir. 1996); MDPhysicians

& Assoc., Inc. v. State Bd. of Ins., 957 F.2d 178, 181 (5th Cir. 1992).

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          A.    Hiers’ First Amendment Claims are All Governed by the
                Pickering Test.

          Hiers’ First Amendment claims all fall under the standard established by the

Pickering, Connick, and Garcetti line of Supreme Court cases (aka the “Pickering

test”).

          In Pickering v. Bd. of Ed. Of Twp. High Sch. Dist. 205, Will Cty., Illinois, the

Supreme Court explained the competing interests at stake when First Amendment

issues are analyzed in the public employment context. On one hand, public employees

may not “be compelled to relinquish the First Amendment rights they would

otherwise enjoy as citizens to comment on matters of public interest.” 54 On the other

hand, a public employer has an interest in “in regulating the speech of its employees

that differ significantly from those it possesses in connection with regulation of the

speech of the citizenry in general.” 55 The Court found that the public employee’s

interest in speaking as a citizen upon matters of public concern must be balanced

against the public employer’s interest in promoting efficiency. 56

          In Connick v. Myers, the Supreme Court elaborated that, under Pickering, the

“public concern” element is a threshold issue in a public employee’s First Amendment

claim:

          when a public employee speaks not as a citizen upon matters of public
          concern, but instead as an employee upon matters only of personal
          interest, absent the most unusual circumstances, a federal court is not
          the appropriate forum in which to review the wisdom of a personnel



54 391 U.S. 563, 568 (1968).
55 Id.
56 Id.


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        decision taken by a public agency allegedly in reaction to the employee's
        behavior. 57

Per Connick, the public concern analysis focuses on the “content, form, and context”

of the statement at issue. 58 The Court explained that “government officials should

enjoy wide latitude in managing their offices, without intrusive oversight by the

judiciary in the name of the First Amendment” and that not every matter that

“transpire[s] within a government office” should be allowed to “plant the seed of a

constitutional case.” 59 The public concern factor protects the government’s autonomy

as an employer while also serving the First Amendment’s core purpose of “‘assur[ing]

unfettered interchange of ideas for the bringing about of political and social changes

desired by the people.’” 60

        In Garcetti v. Ceballos, the Supreme Court clarified that the issue of whether

the public employee spoke as a citizen is also critical. 61 In short, when “a public

employee speaks pursuant to employment responsibilities,” that employee is

generally not entitled to “First Amendment protection.” 62 The Court mirrored

Connick’s concerns about judicial intrusions into a government employer’s affairs:

        When an employee speaks as a citizen addressing a matter of public
        concern, the First Amendment requires a delicate balancing of the
        competing interests surrounding the speech and its consequences.
        When, however, the employee is simply performing his or her job duties,
        there is no warrant for a similar degree of scrutiny. To hold otherwise
        would be to demand permanent judicial intervention in the conduct of



57 461 U.S. 138, 147 (1983).
58 Id. at 147–48.
59 Id. at 146, 149.
60 Id. at 145 (quoting Roth v. United States, 354 U.S. 476, 484 (1957)).
61 547 U.S. 410, 423–24 (2006).
62 Id.


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        governmental operations to a degree inconsistent with sound principles
        of federalism and the separation of powers. 63

        Following Pickering, Connick, and Garcetti, to sustain a First Amendment free

speech claim in the public employment context, the plaintiff must at least be able to

show that: (1) he spoke as a citizen (as opposed to pursuant to his official job duties);

(2) he spoke on a matter of public concern; and (3) his interest in speaking outweighed

the government’s interest in the efficient provision of public services. 64 “The inquiry

into the protected status of speech is one of law, not fact.” 65

        The Pickering test is usually seen in public employees’ First Amendment

retaliation claims, but its application is far broader and reaches practically every

First Amendment free speech claim in the public employment context. This is because

the Pickering test’s underlying concerns—the federalism and separation of powers

principles threatened by judicial intervention into a public employer’s operations—

are not limited to First Amendment retaliation situations. 66

        What this means is that although Hiers lists five separate First Amendment

claims, these claims are all governed by the Pickering test. There should be no

meaningful dispute about this. 67


63 Id. at 423.
64 See, e.g., Hardesty v. Cochran, 621 F. App'x 771, 775 (5th Cir. 2015); Muslow v. Bd. of Supervisors
of Louisiana State Univ. & Agric. & Mech. Coll., No. CV 19-11793, 2020 WL 1864876, at *20–21 (E.D.
La. Apr. 14, 2020); Harris v. Noxubee Cty., Mississippi, 350 F. Supp. 3d 592, 598 (S.D. Miss.
2018), aff'd, 776 F. App'x 868 (5th Cir. 2019); United Steel, Paper & Forestry, Rubber, Mfg., Energy,
Allied Indus. & Serv. Workers Int'l Union v. Anderson, No. SA-17-CV-1242-XR, 2018 WL 3017366, at
*10 (W.D. Tex. June 15, 2018); Broussard v. Jefferson Cty., No. 1:15-CV-00309, 2016 WL 11190107, at
*3 (E.D. Tex. Apr. 20, 2016), report and recommendation adopted, No. 1:15-CV-309, 2016 WL 3063826
(E.D. Tex. May 31, 2016).
65 Connick, 461 U.S. at 148 n.7.
66 See id. at 146, 149; Garcetti, 547 U.S. at 423.
67 See, e.g., United States v. Nat'l Treasury Employees Union, 513 U.S. 454, 480 (1995) (“The time-

tested Pickering balance . . . provides the governing framework for analysis of all manner of restrictions

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        As explained below, Hiers’ speech was not constitutionally protected as he

cannot fairly be considered to have spoken on a matter of public concern. His First

Amendment claims all fail for this reason. 68

        B.      Hiers’ First Amendment Claims Fail Because a Public
                Employee’s Anonymous, Uninformative, and Private Teasing of
                Another Anonymous Individual is Not Speech on a Matter of
                Public Concern.

        Hiers is asking this Court to find that a school official’s anonymous,

uninformative, and private joke that had no academic justification is speech on a




on speech by the government as employer.”) (O’Connor, J. concurring in part and dissenting in part);
Connick, 461 U.S. at 146 (noting that, if a plaintiff’s speech was not “on a matter of public concern, it
is unnecessary for us to scrutinize the reasons for her discharge,” which is a statement fundamentally
at odds with a viewpoint or content discrimination analysis); Kinney v. Weaver, 367 F.3d 337, 358–59
(5th Cir. 2004) (applying Pickering to the “governmental employee” version of the unconstitutional
conditions doctrine); Vojvodich v. Lopez, 48 F.3d 879, 884 (5th Cir. 1995) (“To assert the protections of
the First Amendment, the employee must establish, as a threshold matter, that his speech or activity
related to a matter of public concern.”); Kluge v. Brownsburg Cmty. Sch. Corp., 432 F. Supp. 3d 823,
839 (S.D. Ind. 2020) (dismissing a plaintiff’s First Amendment retaliation, content and viewpoint
discrimination, and compelled speech claims “[b]ecause the speech at issue was pursuant to [the
plaintiff’s] official duties as a public employee and did not involve a matter of public concern”); United
States v. Streett, 434 F. Supp. 3d 1125, 1170 n.20 (D.N.M. 2020) (“Government employees do not receive
the same level of First Amendment protection from adverse employment actions, e.g., firings, that
citizens do from adverse government action, e.g., penal or civil sanctions, discrimination on the basis
of speech (content-based speech regulation), compelled speech, or the conditioning of a benefit.”);
Gwinnett v. Sw. Fla. Reg'l Planning Council, 407 F. Supp. 3d 1273, 1279, 1281 (M.D. Fla. 2019)
(explaining that the public concern element “has been the touchstone of public employee speech cases
for decades” and applying the Pickering framework to a compelled speech claim—noting that to do
otherwise would “ignore[] fifty years of Supreme Court precedent and turn[] countless disputes
between public employees and employers into constitutional matters”); Hawkins v. D.C., 923 F. Supp.
2d 128, 135 (D.D.C. 2013) (“For the Constitution to kick in, . . . a public employee must be restricted
from speaking as a citizen . . . .”) (quotations omitted); Fairchild v. Liberty Indep. Sch. Dist., No. 1:06-
CV-92-TH, 2008 WL 11446526, at *14 (E.D. Tex. Feb. 11, 2008) (“This Pickering test is used most often
in free speech retaliation cases. But, it is relevant to all cases that involve a public employee's speech.”).
68 Hiers does not appear to claim that he made any constitutionally-protected statements to Dr.

Schmidt during their meeting to discuss his chalkboard message. Nor could he. His speech at that
point would be akin to speech on a personal employer/employee dispute and an internal grievance of
the type routinely rejected by courts. See, e.g., Moreau v. St. Landry Par. Fire Dist. No. 3, 808 F. App'x
225, 228–29 (5th Cir. 2020); Teague v. City of Flower Mound, Tex., 179 F.3d 377, 383 (5th Cir. 1999).
And Hiers would be speaking as an employee, and not as a citizen, during this meeting, which would
leave his speech unprotected under Garcetti.

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matter of public concern. This would be an unprecedented holding, one that is

effectively foreclosed by numerous binding and persuasive decisions.

        For instance, in Finch v. Fort Bend Indep. Sch. Dist. and Dorsett v. Bd. of

Trustees for State Colleges & Universities, the Fifth Circuit rejected school officials’

First Amendment retaliation claims largely because the officials only spoke

internally within their schools and because their speech did not arise against the

backdrop of any widespread debate in the community. 69 Here, Hiers made his

statement solely at UNT’s faculty lounge 70 and he never plausibly alleges that there

was widespread community debate on the issue of microaggressions in the UNT

workplace.

        In Graziosi v. City of Greenville Miss., the Fifth Circuit found the content factor

weighed against the plaintiff even though some of her contested speech—consisting

of posts on the city mayor’s public Facebook page—“address[ed] subjects that can be

fairly considered as relating to any matter of political, social, or other concern to the

community.” 71 The Court reasoned that the posts did not address matters of

traditional public concern, such as “malfeasance, corruption or breach of the public

trust.” 72 And the Court noted that the plaintiff’s originally informative posts had

quickly devolved into an uninformative rant that “‘convey[ed] no information at all


69 Finch v. Fort Bend Indep. Sch. Dist., 333 F.3d 555, 564 (5th Cir. 2003); Dorsett v. Bd. of Trustees for
State Colleges & Universities, 940 F.2d 121, 124–25 (5th Cir. 1991); see also Alexander v. Eeds, 392
F.3d 138, 143 (5th Cir. 2004) (finding that a Texas Department of Public Safety (“DPS”) officer’s
comments about DPS’s policy prohibiting identity-concealing masks was not protected speech in part
because there was “[n]o ongoing public debate . . . on this issue, and no one outside DPS was contacted
regarding the matter”).
70 See Compl., ¶¶ 112, 155, 208.
71 775 F.3d 731, 738 (5th Cir. 2015).
72 Id.


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other than the fact that a single employee was upset with the status quo.’” 73 Here,

Heirs’ anonymous comment—“Please don’t leave garbage lying around” 74—did not

address a matter of traditional public concern and conveyed no meaningful

information other than that Hiers was upset about fliers addressing a workplace-

related issue being placed in UNT’s faculty lounge.

        In Martin v. Parish, the Fifth Circuit found that public universities can

regulate uncivil and immature conduct without running afoul of the First

Amendment: “[T]he first amendment does not prevent schools from determining that

the essential terms of civil, mature conduct cannot be conveyed in a school that

tolerates lewd, indecent or offensive speech and conduct.” 75 In Martin, the Court held

that a teacher’s offensive comments that served no academic purpose did not address

a matter of public concern and thus were not protected by the First Amendment. 76

        The Fifth Circuit recently reaffirmed this principle in Buchanan v. Alexander.

In Buchanan, the Court held that a university professor’s profane statements, poorly

worded jokes, and sexually explicit comments in front of her students that served no

academic purpose were not speech on a matter of public concern. 77

        While Martin and Buchanan were decided in the context of a teacher’s speech

in the classroom setting, the Court’s decision in Martin implied that its holding

applies more broadly:




73 Id. (brackets in original) (quoting Connick, 461 U.S. at 148).
74 Compl., ¶¶ 112, 155, 208.
75 805 F.2d 583, 585 (5th Cir. 1986) (quotations omitted).
76 Id. at 584–85.
77 919 F.3d 847, 851, 853 (5th Cir. 2019).


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        Were Martin an assistant district attorney who repeatedly used
        profanity in the courtroom, we have no doubt that he could be
        terminated for unprofessional behavior. Were he a member of Congress,
        such language could result in censure. . . . [W]e conclude his status as a
        college teacher is no less sensitive to the use of such language than that
        of a courtroom lawyer or member of Congress. 78

        Martin and Buchanan reflect a broader principle that courts are ill-equipped

to interfere in the day-to-day operations of schools and should only do so “where there

is a clear case of constitutional infringement.” 79 Per the Fifth Circuit, courts “have

neither the competency nor the resources to undertake to micromanage the

administration of thousands of state educational institutions,” and the fields of

education and faculty appointments “are probably the least suited for federal court

supervision.” 80

        Like Martin and Buchanan, the speech at issue here is uncivil. Hiers was

admittedly teasing another person by implying that the person’s ideas about

microaggressions in the UNT workplace were “garbage.” 81 He offered no substantive

criticism on the topic such that his comments could arguably be considered to serve

an academic purpose or otherwise advance the marketplace of ideas. 82 And because

Hiers didn’t sign his name to the message, his joke would not realistically lead to




78 Martin, 805 F.2d at 586 (citation omitted).
79 Duke v. N. Texas State Univ., 469 F.2d 829, 838 (5th Cir. 1972) (quotations omitted).
80 Dorsett, 940 F.2d at 124.
81 Compl., ¶¶ 112, 125; ECF 1-10.
82 See Compl., ¶¶ 112, 125; ECF 1-10; see also Swank v. Smart, 898 F.2d 1247, 1250 (7th Cir. 1990)

(“The purpose of the free-speech clause and of its judge-made corollary the right of association is to
protect the market in ideas, broadly understood as the public expression of ideas, narratives, concepts,
imagery, opinions—scientific, political, or aesthetic—to an audience whom the speaker seeks to
inform, edify, or entertain. Casual chit-chat . . . confined to a small social group is unrelated, or largely
so, to that marketplace, and is not protected.”) (citation omitted).

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some future academic debate. 83 As shown in Martin and Buchanan, the First

Amendment does not prevent a public university from firing a faculty member like

Hiers for making uncivil comments that serve no academic purpose.

       Numerous other courts have refused to extend First Amendment protection in

similar contexts to the situation presented here.

       In Shatkin v. Univ. of Texas at Arlington, the court noted that “[s]peech relates

to a matter of public concern . . . if it contributes to an informed dialog in a democratic

society or contributes informed opinions on important public issues.” 84 The court

rejected two school officials’ First Amendment retaliation claims partly because their

“statements did not contribute to a well informed public debate.” 85

       In Meriwether v. Trustees of Shawnee State Univ., a university professor—

represented by the same attorneys representing Hiers—claimed that the university

retaliated against him for his repeated use of male titles and pronouns when

addressing a transgender student in his classroom who identified as female. 86 In

dicta, the court found that the professor’s speech was not on a matter of public

concern, largely because the professor did not: (1) “advance an idea transcending

political interest or opinion which impacts our social and/or political lives” and

instead merely expressed his personal beliefs about gender identity; (2) “shar[e] ideas




83 Compl., ¶¶ 112, 125; ECF 1-10.
84 No. 4:06-CV-882-Y, 2009 WL 614788, at *4 (N.D. Tex. Mar. 10, 2009) (citing San Diego v. Roe, 543
U.S. 77, 82–83 (2004)); Pickering, 391 U.S. at 572).
85 Id. at *5.
86 No. 1:18-CV-753, 2019 WL 4222598, at *1–7 (S.D. Ohio Sept. 5, 2019), report and recommendation

adopted, No. 1:18-CV-753, 2020 WL 704615 (S.D. Ohio Feb. 12, 2020).

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or invit[e] discussion” on the topic; (3) speak in the context of a broader discussion on

the issue; and (4) have any academic justifications for his comments. 87

       In Thayer v. City of Holton, the court found that a plaintiff’s private and

informal statements on (1) the working styles of various public officials and (2) how

a claim against the city should be advanced were not matters of public concern. 88 The

court explained that the “Plaintiff had indicated that he may have been joking in

some of his comments” and found that “[n]onpolitical joking remarks are not given

First Amendment protection.” 89

       In Brooks v. Denver Pub. Sch., a public-school official claimed that he was

improperly terminated for telling an inappropriate joke about leprechauns at a school

retreat. 90 The court, quoting Thayer, also found that the official did not speak on a

matter of public concern as “‘[n]onpolitical joking remarks are not given First

Amendment protection.’” 91

       In Shepherd v. McGee, the court analyzed whether First Amendment

protection extends to a public official’s jokes about “the subjects of tax credits or the

use of government resources or entitlement programs.” 92 The court noted that these

subjects were “arguably matters of public concern.” 93 But, given the plaintiff’s

characterization of her remarks as “humorous and ironic” and “jokes,” the court found

that the plaintiff’s statements were “more on the periphery of First Amendment


87 Id. at *15 (quotations omitted).
88 515 F. Supp. 2d 1198, 1206–07 (D. Kan. 2007).
89 Id. at 1207.
90 No. 17-CV-01968-REB-MEH, 2017 WL 5495793, at *1–3, 9 (D. Colo. Nov. 16, 2017).
91 Id. at *9 (quoting Thayer, 515 F. Supp. 2d at 1207).
92 986 F. Supp. 2d 1211, 1221–22 (D. Or. 2013)
93 Id. at 1221.


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protection because they were banter rather than speech intended to help the public

actually evaluate the performance of a public agency.” 94 This conclusion was further

justified as the disputed comments “were not distributed to the public or the media

but were [instead] targeting a smaller audience.” 95

       In Williams v. Alabama State Univ., a professor at Alabama State University

complained that she was retaliated against because she “spoke out against” and

“instigated debate about” a grammar textbook written by other faculty members. 96

The Eleventh Circuit found that the defendants were entitled to qualified immunity:

“We have not been provided nor has our research revealed any case holding that a

professor's in-house criticism of a particular text is constitutionally protected speech.

Decisions addressing analogous issues suggest the law to be otherwise.” 97

       In Withiam v. Baptist Health Care of Oklahoma, Inc., a former employee of a

state-run hospital claimed she was improperly terminated for presenting a resolution

at the hospital’s board of trustees meeting stating “we the undersigned voice our

opinion in approval of retaining the current management contract with Quorum

Health Care Resources, Inc.” 98 The Tenth Circuit explained that “[i]t is not enough

that the subject matter be of public concern; the content of the expression must also

be of public concern.” 99 And “[t]o be protected speech, the expression must sufficiently

inform the issue as to be helpful to the public in evaluating the conduct of



94 Id.
95 Id.
96 102 F.3d 1179, 1181 (11th Cir. 1997) (quotations omitted).
97 Id. at 1183.
98 98 F.3d 581, 582–83 (10th Cir. 1996).
99 Id. at 583.


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government.” 100 The court found that the plaintiff’s resolution “expressed nothing

more than the bare opinion that the then-current management company should be

retained” and “offered no reasons or explanation at all for the opinion it expressed.” 101

The court held that such “bald, unadorned and nonspecific” speech does not “involve

a matter of public concern warranting First Amendment protection.” 102

       Hiers appears to recognize the fatal flaw in his First Amendment claims—that

his anonymous comment did nothing to advance any debate on microaggressions or

otherwise communicate anything of importance on this issue to the public. The

Complaint thoroughly details Hiers’ alleged beliefs about microaggressions, like his

ideas that the concept of microaggressions “actually hurts diversity and tolerance”

and that “[t]his mode of thinking teaches people to see the worst in other people,

promotes a culture of victimhood, and suppresses alternative viewpoints instead of

encouraging growth and dialogue.” 103 Had he wrote any of this on the faculty lounge

chalkboard, this would be a different case. But he did not. And his post hoc

characterizations cannot convert his generic uninformative joke into constitutionally-

protected speech on a matter of public concern. 104

       As the Supreme Court explained in Connick, the “public concern” requirement

promotes the commonsense idea “that government offices could not function if every



100 Id. (quotations omitted).
101 Id.
102 Id.
103 Compl., ¶ 106.
104 See Dodds v. Childers, 933 F.2d 271, 274 (5th Cir. 1991) (“Retrospective embellishment cannot

transform personal grievances into matters of public concern.”); Desrochers v. City of San Bernardino,
572 F.3d 703, 711 (9th Cir. 2009) (explaining that the public concern inquiry focuses on “what the
employees actually said” and not on their “post hoc characterizations” of their remarks).

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employment decision became a constitutional matter.” 105 Hiers is asking this Court

to be the first in the nation to aim “the heavy artillery of the Constitution” 106 at an

ordinary employment dispute over a public employee’s anonymous, uninformative,

and private teasing of another anonymous individual. There is no basis for this

unprecedented request. Hiers’ First Amendment claims should be dismissed.

        C.      Additional Reasons for Why Hiers’ First Amendment Claims
                Should be Dismissed.

        Below are additional flaws in Hiers’ First Amendment compelled speech,

overbreadth, and unconstitutional conditions claims.

        Compelled Speech: A compelled speech claim may arise if a state forces an

individual: (1) “through his speech, to affirm a religious, political, or ideological cause

that the individual did not believe in”; or (2) “as part of his daily life to be an

instrument for fostering public adherence to an ideological point of view he finds

unacceptable.” 107 Such a claim requires that the “complaining speaker’s own message

was affected by the speech it was forced to accommodate.” 108 And there must be “state

mandated penalties” compelling a particular message. 109



105 461 U.S. at 143.
106 Brooks v. Arthur, 685 F.3d 367, 371 (4th Cir. 2012) (“At bottom Connick reflects the belief that
many ordinary disputes in the public workplace should be settled or resolved without calling the heavy
artillery of the Constitution into play.”).
107 United States v. Arnold, 740 F.3d 1032, 1034 (5th Cir. 2014) (cleaned up).
108 Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 49 (2006).
109 See, e.g., Wilkins v. Daniels, 744 F.3d 409, 415 (6th Cir. 2014) (“[I]n the absence of state mandated

penalties coercing an individual to choose a course of conduct, state compulsion has not been found.”);
Marinello v. Bushby, No. CIV. A.1:95CV167-D-D, 1996 WL 671410, at *13 (N.D. Miss. Nov. 1, 1996)
(“First Amendment protection against compelled speech has been found only in the context of
governmental compulsion to disseminate a particular political or ideological message.”), aff'd, 163 F.3d
1356 (5th Cir. 1998); Wilcox v. Cty. of Cibola, No. 1:06-CV-0958 MCA/RLP, 2007 WL 9709892, at *7
(D.N.M. Dec. 17, 2007) (“The absence of any compelled message . . . distinguishes Wilcox’s claim from
the compelled speech jurisprudence.”).

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        Here, there were no state mandated penalties compelling Hiers’ speech or

silence on a particular topic. Hiers was never threatened to stay silent on the issue of

microaggressions. He was never required to publicly announce his support for the

concept of microaggressions or to otherwise publicly apologize for his conduct. He

doesn’t allege that he ever spoke or refrained from speaking about microaggressions

as a result of UNT’s conduct. There is no basis for Hiers’ compelled speech claim.

        Overbreadth: Hiers lacks standing and he cannot meet the basic § 1983

requirements for his First Amendment overbreadth claim regarding UNT’s

Misconduct Policy. There are three reasons for this conclusion.

        First, no UNT official ever mentioned that Hiers was not being rehired due his

violation of the Misconduct Policy, and there is no mention of this policy in Dr.

Schmidt’s email explaining the reasons why UNT was not bringing him back for the

Spring 2020 semester. 110 Hiers is inventing a connection between his nonrenewal and

UNT’s Misconduct Policy out of thin air.

        Second, Hiers claims that “[t]he overbreadth of this Misconduct Policy chills

[his] speech.” 111 Yet Hiers fails to allege a single instance where he refrained from

engaging in protected activity as a result of the Misconduct Policy. And there is no

meaningful chance that this policy could chill his speech going forward as Hiers is no

longer employed with UNT. 112


110 Compl., ¶¶ 127–68; ECF 1-13.
111 Compl., ¶¶ 242, 244.
112 See, e.g., Serv. Employees Int'l Union, Local 5 v. City of Houston, 595 F.3d 588, 598 (5th Cir. 2010)

(explaining that, under the overbreadth doctrine, “the plaintiff must establish injury under a
particular provision of a regulation that is validly applied to its conduct”); Morrison v. Bd. of Educ. of
Boyd Cty., 521 F.3d 602, 610 (6th Cir. 2008) (“In order to have standing . . . , a litigant alleging chill
must still establish that a concrete harm—i.e., enforcement of a challenged statute—occurred or is

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       Finally, the Misconduct Policy is not overbroad or vague per the Supreme

Court’s decision in Arnett v. Kennedy. 113 In Arnett, the Court found a statute that

authorized an employee’s removal or suspension without pay “for such cause as will

promote the efficiency of the service” was not unconstitutionally overbroad or

vague. 114 The Court reasoned that “[i]t is not feasible or necessary for the Government

to spell out in detail all that conduct which will result in retaliation” and that even

“[t]he most conscientious of codes that define prohibited conduct of employees

includes ‘catch-all’ clauses prohibiting employee ‘misconduct,’ ‘immorality,’ or

‘conduct unbecoming.’” 115 The Misconduct Policy is consistent with Arnett. Further,

the policy is viewpoint and content neutral, does not directly regulate core speech,

was not designed to punish any particular speech or viewpoint, and clearly lists

examples of acts considered to be “misconduct.” 116 The Misconduct Policy is not

unconstitutionally overbroad, and Hiers’ overbreadth claim should be dismissed. 117

       Unconstitutional Conditions: “Under the doctrine of unconstitutional

conditions, the government may not require a person to give up a constitutional right




imminent.”); cf. Houston Balloons & Promotions, LLC v. City of Houston, 589 F. Supp. 2d 834, 846
(S.D. Tex. 2008) (“In order to obtain standing under the overbreadth doctrine, Plaintiffs must
demonstrate an ability to satisfactorily frame the issues in the case.”) (quotations omitted).
113 416 U.S. 134 (1974).
114 Id. at 158–59 (quotations omitted).
115 Id. at 161.
116 See ECF 1-3.
117 See, e.g., Garrett v. Mathews, 474 F. Supp. 594, 599 (N.D. Ala. 1979) (finding that a faculty

handbook’s language that there must be “adequate cause” for dismissal was not unconstitutionally
vague), aff'd, 625 F.2d 658 (5th Cir. 1980); Broadrick v. Oklahoma, 413 U.S. 601, 614 (1973)
(“[O]verbreadth scrutiny has generally been somewhat less rigid in the context of statutes regulating
conduct in the shadow of the First Amendment, but doing so in a neutral, noncensorial manner.”); see
also Esfeller v. O'Keefe, 391 F. App'x 337, 341 (5th Cir. 2010); Meriwether, 2019 WL 4222598 at *20–
21.

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. . . in exchange for a discretionary benefit . . . .” 118 This has not occurred here. For

example, UNT never said anything to Hiers like “you can only continue working for

us if you publicly support the concept of microaggressions in the workplace” or did

anything else remotely suggesting that Hiers’ continued employment was conditioned

on him giving up his First Amendment rights.

       In Meriwether, Hiers’ counsel brought a similar unconstitutional conditions

claim. 119 There, Hiers’ counsel was unable to define the elements of this claim or show

how it “differ[ed] in any respect from [the plaintiff’s] First Amendment retaliation

claim.” 120 The court dismissed this claim for the same reasons it dismissed the

plaintiff’s First Amendment retaliation claim. The same result is warranted here.

II.    Hiers’ Fourteenth Amendment Claims Should be Dismissed.

        A.      Hiers’ Vagueness Challenge to the Misconduct Policy Fails—He
                was Never Injured by the Misconduct Policy and the Policy
                Reasonably Explains what Acts are Considered “Misconduct.”

       Hiers claims that UNT’s Misconduct Policy was “unconstitutionally vague as-

applied” and thus violated his “right to due process of law under the Fourteenth

Amendment.” 121 This claim significantly overlaps with his First Amendment

overbreadth claim. 122 Like the overbreadth claim, Hiers’ vagueness challenge fails




118 In re Prewitt, 280 F. Supp. 2d 548, 560 (N.D. Miss.), aff'd, 84 F. App'x 397 (5th Cir. 2003).
119 2019 WL 4222598, at *21.
120 Id.
121 Compl., ¶ 258.
122 Kolender v. Lawson, 461 U.S. 352, 358 n.8 (1983) (“[W]e have traditionally viewed vagueness and

overbreadth as logically related and similar doctrines.”); Davis v. Williams, 617 F.2d 1100, 1104 n.6
(5th Cir. 1980) (“Despite their different bases, the [vagueness and overbreadth] doctrines overlap
considerably.”); Jordan v. Pugh, 425 F.3d 820, 827 (10th Cir. 2005) (“ Overbreadth and vagueness
claims generally involve the same nucleus of facts, and require similar analysis of the terms and reach
of the challenged provision.“).

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because: (1) he was never plausibly injured by the Misconduct Policy; (2) he will never

realistically be injured by the policy given he is no longer employed with UNT; and

(3) the policy reasonably explains what is considered misconduct and is consistent

with the Supreme Court’s decision in Arnett. 123

         B.      Hiers’ Procedural Due Process Claim Fails Because: (1) There
                 was No Binding Agreement to have Him Teach for the Spring
                 2020 Semester; (2) He was an At Will Employee; and (3) He
                 Received All Constitutionally-Required Process.

        Hiers alleges that UNT’s decision not to reappoint him for the Spring 2020

semester violated his right to procedural due process. 124 This claim is inadequately

pled and should be dismissed for the reasons mentioned below.

                1.      General Overview.

        “‘If there is no protected property interest, there is no process due.’” 125 To have

a protectable property interest in a benefit, the person must “have a legitimate claim

of entitlement” to the benefit. 126 A person’s “abstract need or desire” for a benefit or

his “unilateral expectation” in it does not create a protectable property interest. 127

The determination of whether a protected property interest exists is “‘guided by the

specific nature and terms of the particular employment at issue, and [is] informed by

the substantive parameters of the relevant state law.’” 128



123 Supra pgs. 23–24.
124 Compl., ¶¶ 259–63.
125 Wigginton v. Jones, No. 19-60268, 2020 WL 3567060, at *5 (5th Cir. July 1, 2020) (quoting Spuler

v. Pickar, 958 F.2d 103, 106 (5th Cir. 1992)); see also Sims v. City of Madisonville, 894 F.3d 632, 641
(5th Cir. 2018).
126 Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972).
127 Id. at 577.
128 Heggemeier v. Caldwell Cty., Texas, 826 F.3d 861, 870 (5th Cir. 2016) (brackets in original) (quoting

Muncy v. City of Dall., 335 F.3d 394, 398 (5th Cir. 2003)).

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        Texas law creates “a strong presumption in favor of at will employment.” 129

This strong presumption may only be modified by “express rather than implied

agreements.” 130 “In the context of public employment, any ambiguity in the grant of

a property interest in employment is resolved in favor of the state.” 131 An at will

employee can be terminated without violating procedural due process. 132

                2.      There was No Binding Contract to have Hiers Teach for
                        the Spring 2020 Semester.

        Hiers’ procedural due process claim fails because there was no binding contract

to have him teach during the Spring 2020 semester. Hiers argues that his November

2019 email exchange with Dr. Cherry created a “written agreement” that he would

teach during this semester. 133 This argument is wrong for three reasons.

        First, these emails could not have created a binding contract because they

contained practically no essential terms, like when Hiers’ employment would start,




129 Id. at 870–71 (emphasis in original) (quotations omitted); Montgomery Cty. Hosp. Dist. v. Brown,
965 S.W.2d 501, 502 (Tex. 1998).
130 Byars v. City of Austin, 910 S.W.2d 520, 523 (Tex. App. 1995), writ denied (Aug. 30, 1995); see also

Heggemeier, 826 F.3d at 870–71; Montgomery Cty. Hosp. Dist., 965 S.W.2d at 502–04.
131 Byars, 910 S.W.2d at 523 (citing Batterton v. Tex. Gen. Land Office, 783 F.2d 1220, 1223 (5th Cir.

1986)).
132 See, e.g., Heggemeier, 826 F.3d at 872; Wigginton, 2020 WL 3567060, at *5 (quoting Staheli v. Univ.

of Miss., 854 F.2d 121, 124 (5th Cir. 1988)); Campos v. Alamo Cmty. Coll. Dist., No. SA-03-CA-0124-
RF, 2005 WL 2402674, at *2 (W.D. Tex. Sept. 23, 2005).
133 Compl., ¶ 122.


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how much he would be paid, or what his benefits would be. 134 Such generic exchanges

do not create a binding employment contract under Texas law. 135

       Second, this argument ignores the parties’ history. Hiers signed a seven-page

letter for his initial Fall 2019 teaching position, which contained the essential terms

for his employment for that semester and which stated that “[n]o previous written or

oral commitment will be binding on the University except as specified in this letter

and attached Adjunct Offer Letter Addendum.” 136 And when Dr. Cherry and Hiers

exchanged emails about adding a math course for Hiers to teach in the Fall that

wasn’t included in his original offer letter, Dr. Cherry advised that the offer letter

would need to be amended to reflect this change. 137 The parties’ history shows that

informal email exchanges containing no essential terms do not create a binding

contract, and it is unreasonable for Hiers to believe otherwise. 138

       Finally, Hiers states that he went to the mathematics department on

December 2, 2019 “to sign the offer letter.” 139 He effectively admits that the email

exchanges from a few weeks prior did not create a binding contract. If they had, there

would be no subsequent “offer” at issue.


134 See Dallas/Fort Worth Int'l Airport Bd. v. Vizant Techs., LLC, 576 S.W.3d 362, 368–69 (Tex. 2019)
(“A contract must state its essential terms with a reasonable degree of certainty and definiteness,
sufficient to confirm that both parties actually intended to be contractually bound and to enable a
court to understand and enforce the parties' obligation and provide an appropriate remedy when
breached.”) (quotations omitted).
135 See, e.g., City of Houston v. Williams, 353 S.W.3d 128, 138–39 (Tex. 2011) (“In the context of

employment agreements, typical essential terms include, among others, ‘compensation, duties or
responsibilities’”) (quoting Martin v. Credit Prot. Ass’n Inc., 793 S.W.2d 667, 669 (Tex. 1990)).
136 ECF 1-5, 2.
137 ECF 1-6.
138 See RESTATEMENT (SECOND) OF CONTRACTS § 24 (1981) (“An offer is the manifestation of willingness

to enter into a bargain, so made as to justify another person in understanding that his assent to that
bargain is invited and will conclude it.”).
139 Compl., ¶ 138.


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       Hiers had no contractual right, and thus no property interest, in teaching for

the Spring 2020 semester. His procedural due process claim should be dismissed.

               3.      At Most, Hiers was an At Will Employee.

       At most, Hiers was at an at will employee for the Spring 2020 semester. As an

at will employee, he had no constitutionally protected interest in the job.

       The Fifth Circuit recently explained that “the establishment of a discretionary

tenure policy demonstrates that ‘teachers without tenure are not assured of

continuing employment.’” 140 UNT established a tenure policy; adjunct faculty

members like Hiers are on the non-tenured track. 141 This weighs heavily against his

claim that he had a protectable interest in teaching for the Spring semester.

       And there is no contract, policy, or other rule remotely suggesting that Hiers

was anything more than a normal at will employee. Hiers relies on UNT Policy §

6.025—which establishes procedures for “Faculty Misconduct and Discipline”—as the

basis for his alleged protectable property interest. 142 Yet this appears to be the wrong

Policy. UNT Policy § 6.051 is far more applicable as it governs a faculty member’s

“right to present a grievance related to reappointment” and similar issues. 143 Either

way, any claim that either § 6.025 or § 6.051 create some sort of binding contractual

interest in further employment is belied by UNT Policy § 2.001, which states: “No




140 Wigginton, 2020 WL 3567060, at *5 (quoting Staheli, 854 F.2d at 124).
141 Supra pg. 4.
142 Compl., ¶¶ 260–63; ECF 1-3.
143 Policies of the University of North Texas: 6.051 University Faculty Grievance, available at

https://policy.unt.edu/sites/default/files/06.051_FacultyGrievance.pdf (last visited July 14, 2020).

                                                29
provision in any University policy shall create a contract, express or implied, with

any individual or organization.” 144

        Also, neither Policy expressly modified the at will nature of Hiers’ employment,

which is what’s necessary to overcome the strong presumption in favor of at will

employment under Texas law. 145 UNT Policies §§ 6.025 and 6.051 merely grant

employees certain grievance rights. But “[t]he existence of a grievance procedure for

employee complaints” does not “create a property interest in the employee’s job.” 146

        As an at will employee, Hiers did not have a property interest in teaching for

the Spring 2020 semester. His procedural due process claim should be dismissed.

                4.      Hiers Received all Constitutionally-Required Process.

        Hiers’ procedural due process claim fails because he had notice of the issue and

a meaningful opportunity to respond prior to UNT’s decision not to reappoint him.

        “[A] university’s failure to follow its own internal rules does not always

establish to [sic] a due process violation.” 147 Rather, such a claim arises “only when

the procedures promised are denied in such a manner that the constitutional

minimum is itself denied or an independent constitutional deprivation is effected.” 148

“Procedural due process requires that an individual receive notice of a proposed




144  Policies of the University of North Texas: 2.001 Policy on Policies, available at
https://policy.unt.edu/sites/default/files/02.001_PolicyOnPolicies.Pub_.pdf (last visited July 14, 2020).
145 Heggemeier, 826 F.3d at 871 (quotations omitted).
146 Byars, 910 S.W.2d at 524 (Tex. App. 1995); Haynes v. City of Beaumont, 35 S.W.3d 166, 179 (Tex.

App. 2000) (“The existence of a grievance procedure for employee complaints has been held not to alter
the at-will nature of employment.”); see also Heggemeier, 826 F.3d at 871 (finding that a public
employer’s policy that said “nothing of the authority to terminate and never purport[ed] to expressly
alter the at-will status of employment” did not create a protectable property interest).
147 Wigginton, 2020 WL 3567060, at *7.
148 Levitt v. Univ. of Texas at El Paso, 759 F.2d 1224, 1230 (5th Cir. 1985).


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action and an opportunity to present his side of the story.” 149 The hearing “need not

be elaborate” to satisfy due process requirements. 150

        On November 26, 2019, Dr. Schmidt sent an email requesting that the

“coward” who wrote the chalkboard message come and see him. 151 Hiers and Dr.

Schmidt met later that day. 152 During this meeting, Hiers was given an opportunity

to: (1) explain his actions; (2) apologize for his conduct; and (3) attend additional

diversity training. 153 Hiers had a full opportunity “to present his side of the story.” 154

His procedural due process claim fails because he already received all process

required by the Constitution.

        C.      Hiers’ Equal Protection Claim is Barred by Supreme Court
                Precedent.

        Hiers claims that UNT treated him differently than other faculty members

who support microaggressions in violation of the Fourteenth Amendment’s Equal

Protection Clause. 155 This is known as a “class-of-one” equal protection claim. 156 But,

in Engquist v. Oregon Dept. of Agr., the Supreme Court held “that the class-of-one

theory of equal protection has no application in the public employment context.” 157




149 Delahoussaye v. City of New Iberia, 937 F.2d 144, 151 (5th Cir. 1991).
150 Galloway v. State of La., 817 F.2d 1154, 1158 (5th Cir. 1987).
151 Compl., ¶ 123.
152 Id. at ¶¶ 126–27.
153 Id. at ¶¶ 127–34.
154 Delahoussaye, 937 F.2d at 151.
155 Compl., ¶¶ 264–72.
156 Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (stating that a class-of-one equal protection

claim lies “where the plaintiff alleges that she has been intentionally treated differently from others
similarly situated and that there is no rational basis for the difference in treatment”).
157 553 U.S. 591, 607 (2008); see also Integrity Collision Ctr. v. City of Fulshear, 837 F.3d 581, 586 (5th

Cir. 2016) (noting that, following Engquist, the class-of-one theory is unavailable in the public
employment context).

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Hiers’ class-of-one equal protection claim should be dismissed as it is barred by

Supreme Court precedent.

III.   Hiers’ Individual-Capacity Claims Fail Because He did Not Plausibly
       Allege “Personal Involvement” for 13 of the 15 Defendants.

       “Personal involvement is an essential element of a civil rights cause of

action.” 158 Hiers plausibly alleges that Drs. Cherry and Schmidt were personally

involved in the decision not to reappoint him for the Spring 2020 semester. 159 But he

fails to plausibly allege that any of the other 13 Defendants—Defendants Wright,

Lee, Denis, Denny, Feehan, Mago, Munguia, Ryan, Scott Jr., Roe, Smatresk, Evans-

Cowley, and Gao—were involved in this incident. 160

       Hiers’ allegations against the other Defendants are that these 13 individuals:

         (1)   “were aware of the retaliatory and unconstitutional actions taken
               against Dr. Hiers and did not instruct University personnel, including
               the other Defendants, to change or reverse those actions to comply with
               constitutional mandates”; 161
         (2)   “are responsible for the retaliatory and unconstitutional actions taken
               against Dr. Hiers”; 162 and
         (3)   “participated in the retaliatory and unconstitutional firing of Dr. Hiers
               challenged here.” 163




158 Thompson v. Steele, 709 F.2d 381, 382 (5th Cir. 1983).
159 See Compl., ¶¶ 121–84 (explaining that: (1) Dr. Schmidt was aware of his chalkboard message; (2)
he met with Dr. Schmidt to discuss the issue; and (3) following that meeting, he received an email
from Dr. Cherry stating that he would not be reappointed for the Spring 2020 semester); see also id.
at ¶ 41 (wherein Hiers acknowledges that Dr. Schmidt was responsible for “oversee[ing] hiring, firing,
renewal contracts, and other contracts for faculty in the mathematics department”); ECF 1-13, 1
(wherein Dr. Schmidt referred to the decision not to reappoint Hiers as “[m]y decision”).
160 See id.
161 Compl., ¶ 35.
162 Id. at ¶ 36.
163 Id. at ¶ 37.


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Such conclusory allegations are insufficient to establish an individual defendant’s

personal involvement for § 1983 purposes. 164 And to the extent Hiers is trying to hold

these 13 uninvolved Defendants vicariously liable for the acts of subordinate UNT

officials, such a claim would be barred by the Supreme Court’s decision in Monell v.

Dep’t of Soc. Servs. of City of New York. 165

       Hiers’ deficient personal involvement allegations also present a qualified

immunity issue. Hiers will need to point to clearly established law explaining how

these 13 uninvolved Defendants can be individually liable under the circumstances.

Hiers cannot meet this burden. Hiers’ individual-capacity claims against the 13

uninvolved Defendants should be dismissed.

IV.    Hiers Cannot Sue Defendants in Their Individual Capacities for the
       Alleged Breach of Contract with UNT.

       As discussed in the next section, Hiers’ official-capacity breach of contract

claim is barred by sovereign immunity. This leaves Hiers’ individual-capacity breach

of contract claim, which fails for the following four reasons.




164 See, e.g., U.S. Tech. Corp. v. Mississippi Dep't of Envtl. Quality, No. 5:15-CV-66(DCB)(MTP), 2016
WL 4098609, at *6 (S.D. Miss. July 28, 2016) (“Liability under § 1983 may not be conferred to an
individual defendant by general allegations . . . because proof of an individual defendant’s personal
involvement in the alleged wrong is a prerequisite to liability on a claim for damages under 42 U.S.C.
§ 1983.”); Surtain v. Stanley, No. 5:15CV2, 2015 WL 10012999, at *5 (E.D. Tex. Dec. 16, 2015)
(“Plaintiff's allegations do not demonstrate personal involvement by any of these Defendants nor
wrongful conduct causally connected to a constitutional deprivation. Although he makes general
allegations of the existence of a policy or custom, the Fifth Circuit has explained a plaintiff's
description of a policy or custom and its relationship to an underlying constitutional violation cannot
be conclusory but must contain specific facts.”), report and recommendation adopted, No. 5:15CV2,
2016 WL 454937 (E.D. Tex. Feb. 5, 2016); Cooper v. City of Woodville, No. CIV A 906CV69, 2007 WL
781435, at *3 (E.D. Tex. Mar. 12, 2007) (explaining that, for a § 1983 claim against an individual
defendant, “[p]laintiffs are required to allege specific facts, not just general allegations”).
165 436 U.S. 658, 690–95 (1978) (finding that government officials cannot be held liable for the

unconstitutional acts of their subordinate employees under a theory of respondeat superior).

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       First, as explained above, Hiers never had an enforceable contract to teach in

the Spring 2020 semester. 166 No contract = no breach.

       Second, Hiers admits his alleged contract was “between the University and

[himself].” 167 He was not in privity of contract with the individual defendants and

thus cannot sue them for breach in their individual capacities. Such was the holding

in Norris v. Housing Authority of City of Galveston, where the court colorfully rejected

a similar individual-capacity breach of contract claim: “Plaintiff, like a good

Galveston fisherman, casts a large net, apparently in an effort to snare and attach

liability to all parties involved in the execution of the employment contract; however,

in this case, that net has several gaping holes which preclude liability.” 168

       Third, Hiers’ claim is contrary to traditional agency principles: “Unless

otherwise agreed, a person making or purporting to make a contract with another as

agent for a disclosed principal does not become a party to the contract.” 169 Hiers cites

Dr. Cherry’s emails as the basis for his “written offers” to teach in the spring. 170 Yet

Dr. Cherry was clearly asking Hiers to teach for UNT, a disclosed principal. The

individual-capacity Defendants cannot be liable as agents under these circumstances.

       Finally, Hiers would need to overcome official immunity to obtain damages

against the individual-capacity Defendants for the alleged breach of contract. 171

Hiers’ meritless claim cannot surpass this hurdle.


166 Supra pgs. 27–29.
167 Compl., ¶ 275.
168 980 F. Supp. 885, 892 (S.D. Tex. 1997).
169 RESTATEMENT (SECOND) OF AGENCY § 320 (1958).
170 Compl., ¶ 275.
171 Texas Dep't of Pub. Safety v. Bonilla, 481 S.W.3d 640, 642 (Tex. 2015); Ballantyne v. Champion

Builders, Inc., 144 S.W.3d 417, 428 n.3 (Tex. 2004).

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V.      Hiers’ § 1983 Official-Capacity Claims for Damages and His Breach of
        Contract Claim are Barred by Sovereign Immunity.

        Like other public universities in Texas, UNT is entitled to sovereign immunity

absent a waiver of this right. 172 UNT’s officers, when sued in their official capacities,

are immune to the same extent as UNT. 173

        Hiers indiscriminately sued all Defendants in their individual and official

capacities and then sought damages against all Defendants. 174 It is well established

that, under the circumstances, sovereign immunity bars Hiers’ § 1983 claims for

damages against official-capacity Defendants. 175 His breach of contract claim is also

barred by sovereign immunity, as “there is no waiver of sovereign immunity generally

applicable to breach-of-contract claims against the State.” 176

VI.     Hiers’ Individual-Capacity Claims are Barred by Qualified Immunity.

         A.      Legal Standard.

        Qualified immunity is analyzed using a two-part test. First, the court must

determine whether the defendant’s actions violated a plaintiff’s clearly-established




172 See, e.g., United States ex rel. Jackson v. Univ. of N. Texas, No. 4:13-CV-734-ALM-CAN, 2015 WL
13743553, at *6 (E.D. Tex. Dec. 4, 2015) (finding that UNT was an arm of the State of Texas and thus
entitled to sovereign immunity), report and recommendation adopted sub nom. United States v. Univ.
of N. Texas, No. 4:13-CV-734, 2016 WL 379613 (E.D. Tex. Feb. 1, 2016), aff'd sub nom. United States
ex rel. Jackson v. Univ. of N. Texas, 673 F. App'x 384 (5th Cir. 2016); Escobar-Molano v. Univ. of N.
Texas, No. 4:05-CV-317, 2005 WL 8161012, at *2 n.3 (E.D. Tex. Oct. 27, 2005) (citing various cases
finding that Texas public universities were entitled to sovereign immunity).
173 See Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989); Danos v. Jones, 652 F.3d 577, 581

(5th Cir. 2011).
174 Compl., ¶ 48; id. at pg. 29.
175 See, e.g., NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 393 (5th Cir. 2015); Aguilar v. Texas Dep't

of Criminal Justice, 160 F.3d 1052, 1054 (5th Cir. 1998).
176 Prof'l Res. Plus v. Univ. of Texas, Austin, No. 03-10-00524-CV, 2011 WL 749352, at *1 (Tex. App.

Mar. 4, 2011) (citing General Servs. Comm’n v. Little-Tex Insulation Co., 39 S.W.3d 591, 595–96 (Tex.
2001)); see also Prairie View A&M Univ. v. Dickens, 243 S.W.3d 732, 735 (Tex. App. 2007); Rosario v.
Texas Veterans Comm'n, No. A-18-CV-1008-RP, 2019 WL 5595234, at *4 (W.D. Tex. Oct. 29, 2019).

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rights. 177 Second, the court must determine whether the defendant’s actions were

objectively reasonable in light of the clearly-established law at the time of the

disputed conduct. 178 Hiers has the burden of showing that qualified immunity does

not bar his recovery. 179

       To defeat the clearly-established prong, the opponent “must be able to point to

controlling authority—or a robust consensus of persuasive authority—that defines

the contours of the right in question with a high degree of particularity.” 180 Once

sufficiently similar precedents are identified, the issue then becomes whether “the

law so clearly and unambiguously prohibited [the] conduct that every reasonable

official would understand that what he is doing violates the law.” 181

       The qualified immunity standard “‘gives ample room for mistaken judgments’

by protecting ‘all but the plainly incompetent or those who knowingly violate the

law.’” 182 “This accommodation for reasonable error exists because officials should not

err always on the side of caution because they fear being sued.” 183

        B.      Defendants are Entitled to Qualified Immunity Because Not
                Every Reasonable Official Would have Understood that Their
                Actions Violated Clearly Established Law.

       To survive this motion, Hiers will need to explain (A) why the above-analyzed

deficiencies are not fatal to his claims and then (B) why—despite the authorities cited



177 Flores v. City of Palacios, 381 F.3d 391, 393–94 (5th Cir. 2004) (quoting Harlow v. Fitzgerald, 457
U.S. 800, 818 (1982)).
178 Brown v. Callahan, 623 F.3d 249, 253 (5th Cir. 2010).
179 See Kovacic v. Villarreal, 628 F.3d 209, 211 (5th Cir. 2010).
180 Morgan v. Swanson, 659 F.3d 359, 371–72 (5th Cir. 2011) (quotations omitted).
181 Id.
182 Hunter v. Bryant, 502 U.S. 224, 229 (1991) (quoting Malley v. Briggs, 475 U.S. 335, 342 (1986)).
183 Id. (quotations omitted).


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above—every reasonable official would have understood that Defendants’ conduct

violated the Constitution. Hiers cannot meet this heavy burden.

        The qualified immunity analysis for Hiers’ First Amendment claims warrants

extra attention. As noted above, these claims rest on the Pickering test. Under Fifth

Circuit precedent, Hiers must show that the results of this test—how it would apply

to the situation at hand—was clearly established. This is a particularly high bar.

        A useful starting place for this point is the Fifth Circuit’s seminal decision in

Noyola v. Texas Dept. of Human Resources. 184 Noyola analyzed how Pickering impacts

a qualified immunity analysis:

        One consequence of [a Pickering] case-by-case balancing is its
        implication for the qualified immunity of public officials whose actions
        are alleged to have violated an employee's first amendment rights.
        There will rarely be a basis for a priori judgment that the termination
        or discipline of a public employee violated “clearly established”
        constitutional rights. 185

Thus, the Court found that qualified immunity is particularly appropriate in such

cases as “‘reasonable government officials, knowing only that they must not infringe

on employee free speech rights, would not necessarily know just what conduct was

prohibited.’” 186 Noyola reflects a broader theoretical approach to qualified immunity

that applies to balancing tests outside of the First Amendment context. 187




184 846 F.2d 1021 (5th Cir. 1988).
185 Id. at 1025.
186 Id. (brackets omitted) (quoting Hodorowski v. Ray, 844 F.2d 1210, 1217 (5th Cir. 1988)).
187 See, e.g., Cleveland v. Liberty Cty. Sheriff's Dep't, 626 F. App'x 540, 545 (5th Cir. 2015); Brokaw v.

Mercer Cty., 235 F.3d 1000, 1023 (7th Cir. 2000).

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        The Fifth Circuit has routinely cited Noyola’s holding with approval. 188 As of

2004, Noyola’s holding had been “embraced by at least seven other circuits” and

reflected “the consensus view among circuit courts.” 189 Two years later, the Supreme

Court recognized in Garcetti that “[t]o be sure, conducting these [Pickering] inquiries

sometimes has proved difficult” even for legally-trained judges. 190

        Nearly eight years after Garcetti, the Fifth Circuit, in Morgan v. Swanson,

commented that “where the area of law is as abstruse and complicated as First

Amendment jurisprudence, that right cannot be clearly established for the purposes

of qualified immunity analysis.” 191 The Fifth Circuit further explained that school

officials are given particularly broad discretion because they have “difficult” and

“vitally important” jobs. 192 Thus, school officials “are rarely denied immunity from

liability arising out of First Amendment disputes.” 193 Morgan highlights a principle

over half a century old: absent a clear constitutional infringement, “courts should not

interfere with the day-to-day operations of schools.” 194

        There is no clear constitutional infringement here. As shown above, Hiers’

anonymous, uninformative, and privately-made joke was not constitutionally




188 See, e.g., Benes v. Puckett, 602 F. App'x 589, 595 (5th Cir. 2015); James v. Mellen, 305 F. App'x 192,
194 (5th Cir. 2008); Gunaca v. State of Tex., 65 F.3d 467, 474 (5th Cir. 1995); see also Keenan v. Tejeda,
290 F.3d 252, 262 n.7 (5th Cir. 2002) (clarifying that Noyola’s holding applies to any Pickering balance,
including a determination of “what constitutes protected speech”).
189 Kinney v. Weaver, 367 F.3d 337, 387–88 (5th Cir. 2004) (Jones., J. concurring in part and dissenting

in part).
190 Garcetti, 547 U.S. at 418.
191 755 F.3d 757, 761 (5th Cir. 2014).
192 Id. at 760.
193 Id.
194 Duke, 469 F.2d at 838.


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protected. At a minimum, this is an extremely open question that is ripe for dismissal

on qualified immunity grounds.

                                    CONCLUSION

      Hiers is asking this Court to constitutionalize an ordinary employment dispute

and, in doing so, make an unprecedented invasion into a government employer’s

ability to manage its workplace. The weight of authority is against this request. And

there was certainly no clearly established law dictating that Hiers’ six-word

anonymous joke was constitutionally-protected speech on a matter of public concern.

Hiers’ claims are meritless. His Complaint should be dismissed.




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Date: July 30, 2020.                   Respectfully submitted.


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                                       COUNSEL FOR DEFENDANTS


                             CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this foregoing motion has been served
on Hiers by electronic notification through ECF by the United States District Court
for the Eastern District of Texas, Sherman Division, on July 30, 2020.

                                       /s/ Todd Dickerson
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